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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                       AUSTIN DIVISION


  DEFENSE DISTRIBUTED and SECOND                   §     Case No. 1:18-CV-637-RP
  AMENDMENT FOUNDATION, INC.,                      §
                                                   §
                       Plaintiffs,                 §
                                                   §
                       v.                          §      Plaintiffs’ Motion for a
                                                   §   Temporary Restraining Order
  GURBIR GREWAL, in his official capacity as       §
  New Jersey Attorney General; MICHAEL             §
  FEUER, in his official capacity as Los Angeles   §
  City Attorney; ANDREW CUOMO, in his              §
  official capacity as New York Governor;          §
  MATTHEW DENN, in his official capacity as        §
  Attorney General of the State of Delaware;       §
  JOSH SHAPIRO, in his official capacity as        §
  Attorney General of Pennsylvania; and            §
  THOMAS WOLF, in his official capacity as         §
  Pennsylvania Governor,                           §
                                                   §
                       Defendants.                 §
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        Plaintiffs Defense Distributed and the Second Amendment Foundation, Inc., move for a

 temporary restraining order against the New Jersey Attorney General, Defendant Gurbir Grewal.

                               SUMMARY OF THE ARGUMENT

        Plaintiffs have submitted a motion for a preliminary injunction. See Dkt. 64-1 (hereinafter

 “PI Motion”). That motion asks the Court to enjoin New Jersey’s Attorney General from

 subjecting Defense Distributed and the Second Amendment Foundation to (1) an unconstitutional

 criminal statute that was enacted in November, Senate Bill 2465’s Section 3(l)(2), and (2) an

 unconstitutional civil censorship campaign that began in July. The Court should act upon that

 motion as soon as is practicable for the reasons explained therein.

        In the meantime—between now and the Court’s decision on the motion for a preliminary

 injunction—Plaintiffs hereby request that the Court enter a temporary restraining order against

 New Jersey’s enforcement of the Section 3(l)(2) speech crime.            The unconstitutional civil

 censorship efforts meet the test for a TRO as well. But in light of the Plaintiffs’ particularly dire

 need for immediate relief vis-à-vis the new speech crime, Plaintiffs are willing to let the civil

 censorship campaign be dealt with solely in the preliminary injunction motion. In this motion,

 Plaintiffs request only that the Court temporarily restrain the enforcement of Section 3(l)(2).

        Plaintiffs sought a similar TRO with emergency filings that were lodged less than 48 hours

 after the law’s enactment. Dkt. 52. This Court’s denial of that motion, Dkt. 53, rests on a critical

 misimpression. Plaintiffs now provide the Court with more detailed briefs and evidence to

 demonstrate that New Jersey’s new statute unquestionably criminalizes conduct that Defense

 Distributed engages in. Therefore, Plaintiffs move for a TRO against New Jersey’s enforcement

 of the unconstitutional Section 3(l)(2) speech crime and, to the extent necessary, reconsideration

 of the Court’s November 13, 2018 order denying Plaintiffs’ first TRO request.




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                                            ARGUMENT

 I.     The Court should issue a TRO against New Jersey’s enforcement of Section 3(l)(2).

        Motions for preliminary injunctions and temporary restraining orders entail the same

 substantive requirements. See generally 11A Charles Alan Wright & Arthur R. Miller et al.,

 Federal Practice & Procedure § 2951 (West 2018). Hence, Plaintiffs submit that the Court should

 grant a TRO as to New Jersey’s enforcement of the Section 3(l)(2) speech crime for the same

 reasons that it should grant a preliminary injunction as to that conduct.

 II.    Plaintiffs are engaged in activities that Section 3(l)(2) clearly criminalizes.

        A.      Plaintiffs are engaged in the “distribution” of “instructions” online.

        In its order regarding the original TRO request, the Court observed that, “for the statute to

 reach the ‘constitutionally protected current and ongoing activities’ Plaintiffs identify, Plaintiffs

 would have to be distributing, in the course of these activities, (1) digital instructions, (2) in the

 form of computer-aided design files or other code or instructions stored and displayed in electronic

 format as a digital model, (3) that may be used to program a three-dimensional printer to

 manufacture of produce a firearm, firearm receiver, magazine, or firearm component.” Dkt. 53 at

 6. On its face, the statute criminalizes far more conduct that that. See infra Part II.C. Yet, even

 under that narrow definition, the Plaintiffs are engaged in prohibited activities.

        The record demonstrates that Defense Distributed does distribute the digital firearms

 information that Section 3(l)(2) criminalizes. See PI Motion at 5-9. Defense Distributed did so

 extensively in the past and desires to continue doing so in the future. The complaint pleads this,

 the motion for a preliminary injunction details it, and evidence proves it. No saving construction

 of Section 3(l)(2) can avoid this conclusion. Defense Distributed’s activities fall squarely within

 the new speech crime’s heartland. Abstention is therefore inappropriate, and irreparable harm has

 been established.



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         First, Section 3(l)(2) causes irreparable harm—and abstention is unwarranted—because

 Defense Distributed has published digital firearms information on the internet and intends to do so

 in the future. See FAC ¶¶ 10-11; PI Motion at 5-6; see also Dkt. 52 at 2, 19. Specifically, Defense

 Distributed published digital instructions about 3D printing firearms to the internet’s public

 domain from 2012 to 2013, before Defense Distributed I had begun, and again in 2018, after

 Defense Distributed I had been settled.

         In the immediate future, Defense Distributed intends to publish via its website both the

 Defense Distributed I Files themselves and an array of similar digital firearms information

 concerning other firearms and firearm components. Fear of punishment by states like New Jersey

 prevents Defense Distributed from engaging in its usual publication activities.

         Section 3(l)(2) unambiguously criminalizes this conduct. It makes it a crime to distribute—

 ”by any means, including the Internet”—“digital instructions in the form of computer-aided design

 files or other code or instructions stored and displayed in electronic format as a digital model that

 may be used to program a three-dimensional printer to manufacture or produce a firearm, firearm

 receiver, magazine, or firearm component.” SB 2465 § 3(l)(2).

         The Court’s prior order concluded that the Plaintiffs had not “specif[ied] the kinds of files

 allegedly accessible on the DEFCAD website, or what, if any, speech they entail.” Dkt. 53 at 6.

 But the complaint does just that, and so does the motion for a preliminary injunction. In particular,

 the complaint describes the Defense Distributed I Files in great detail, showing how they clearly

 meet the statute’s “digital instruction . . .” definition:

                  30. Defense Distributed I concerned four defined categories of computer
         files: the “Published Files,” the “Ghost Gunner Files,” “CAD Files,” and the “Other
         Files.” Together, these four defined categories of files are referred to as the
         “Defense Distributed I Files.”

                 31. The “Published Files” category of Defense Distributed I Files consists
         of ten separate sets of files. The “Published Files” category consists of
         stereolithography (.stl) files about firearm components, Initial Graphics Exchange


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        Specification (.igs) files about firearm components, SoLiDworks PaRT (.sldprt)
        files about firearm components, SketchUp (.skp) files about firearm components,
        Standard for the Exchange of Product Data (“STEP”) (.stp) files about firearm
        components, diagrams of firearm components, renderings, “read me” plain text
        files about firearm assembly methods, “read me” plain text files about the National
        Firearms Act and the Undetectable Firearms Act, and software licenses. From
        December 2012 until May 2013 and at other times since then, Defense Distributed
        published the Published Files on the internet.

                32. The “Ghost Gunner Files” category of Defense Distributed I Files
        consists of software, data files, project files, coding, and models containing
        technical information for a machine, named the “Ghost Gunner,” that can be used
        to manufacture a variety of items, including gun parts.

               33. The “CAD Files” category of Defense Distributed I Files consists of
        STEP (.stp) and stereolithography (.stl) files about a lower receiver to the AR-15
        rifle.

                34. The “Other Files” category of Defense Distributed I Files consists of
        files that contain technical information, to include design drawings, rendered
        images, written manufacturing instructions, and other technical information that
        Defense Distributed intends to post to public forums on the Internet; provided,
        however, that this category only extends insofar as those files regard items that, as
        of June 29, 2018, were exclusively: (i) in Category I(a) of the United States
        Munitions List, as well as barrels and receivers covered by Category I(g) of the
        United States Munitions List that are components of such items; or (ii) items
        covered by Category I(h) of the United States Munitions List solely by reference to
        Category I(a), excluding Military Equipment.

 FAC ¶¶ 30-34. Evidence verifies the complaint’s description of the Defense Distributed I Files.

 See Dkt. 23-1 at 8-9 (Settlement Agreement definition); Dkt. 23-2 at 1 (Temporary Modification

 definition); Dkt. 23-3 (State Department license definition).

        Furthermore, evidence shows that files about items such as the “Liberator”—which

 Defense Distributed published in July—exemplify the kind of digital firearms information that

 Defense Distributed intends to develop and share in the future. See PI Motion at 5-6; PI Motion

 Ex. 26 ¶ 20. In other words, these files exemplify what Defense Distributed will be “distributing”

 within the meaning of Section 3(l)(2). Without a doubt, the new law criminalizes the online

 distribution of digital firearms information that Defense Distributed has been engaged in and that

 it intends to engage in again soon. Reconsideration is especially warranted on this point.


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        B.      Plaintiffs are engaged in the “distribution” of “instructions” via the mail.

        Website publications are not the only way in which Defense Distributed satisfies the

 requirement of distributing “(1) digital instructions, (2) in the form of computer-aided design files

 or other code or instructions stored and displayed in electronic format as a digital model, (3) that

 may be used to program a three-dimensional printer to manufacture of produce a firearm, firearm

 receiver, magazine, or firearm component.” Dkt. 53 at 6. The irreparable harm requirement is

 met—and abstention is unwarranted—because Defense Distributed also distributes instructions

 about 3D printing firearms via U.S. Mail. See PI Motion at 7-8.

        Specifically, ever since both the State Department and New Jersey acknowledged Defense

 Distributed’s right to do so in September 2018, Defense Distributed has been distributing digital

 firearms information to certain U.S. persons by mailing such information on electronic storage

 devices via the U.S. Postal Service. See PI Motion at 7-8. “Defense Distributed sold digital

 firearms information by using an ecommerce platform on DEFCAD to facilitate the transaction

 and using the U.S. Postal Service as its means of delivering the information.” Id. (quoting PI

 Motion Ex. 26 ¶ 26). “After customers entered an order using DEFCAD’s online ecommerce

 platform, and following Defense Distributed’s review, Defense Distributed placed purchased

 information on a USB drive or SD card and mailed the drive or card to domestic-only sales

 customers via the U.S. Postal Service” Id. (quoting PI Motion Ex. 26 ¶ 27).

        Just as it targets distribution via the internet, Section 3(l)(2) clearly criminalizes speech

 delivered via the mail. The files at issue meet the “digital instructions” definition because they are

 the same files that Defense Distributed distributed online. And because the statute expressly

 defines “distribute” to include “mail,” this publication medium is clearly criminalized. Thus,

 Section 3(l)(2) causes irreparable harm—and abstention is unwarranted—because the law clearly




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 criminalizes another method of distributing digital firearms information that Defense Distributed

 has been engaged in previously and that it intends to engage in again soon.1

         C.      Plaintiffs are engaged in the “offering” or “advertising” of “instructions.”

         Third, the irreparable harm requirement is met—and abstention is unwarranted—because

 Defense Distributed has offered and advertised its distribution of digital firearms information and

 desires to do so in the future. See PI Motion at 8-9. This secondary activity is a critical part of

 Defense Distributed’s primary effort to successfully distribute digital firearms information. To

 make distribution possible, Defense Distributed offers and advertises its digital firearms

 information by way of website advertisements, one-to-one e-mail exchanges, broad media

 advertising campaigns, and trade show participation. Id.

         Section 3(l)(2) criminalizes this conduct through a broad definition of “distribute.”

 Specifically, the law criminalizes not just actual information sharing (e.g., “give,” “provide,” and

 “deliver”), but also acts short of sharing. The statute criminalizes merely “advertis[ing]” and

 “offer[ing]” to share banned information. Even when no actual transmission of the banned

 information occurs, Section 3(l)(2) makes it a crime for Defense Distributed to “advertise” and

 “offer” the digital firearms information that it is willing to distribute.

         The Court’s prior order expressed “skeptic[ism] that displays at a trade show,

 advertisements, and media campaigning about the Plaintiffs’ ‘missions’ involve the distribution of

 ‘digital instructions’ in the form of ‘computer-aided design files or other code.’” Dkt. 53 at 6. But

 a conviction under the statute does not turn on whether actual sharing of digital firearms




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  For Defense Distributed, SAF, and anyone else interested in digital firearms information, the
 postal mail alternative to internet publication is not an “adequate substitute[].” City of Ladue v.
 Gilleo, 512 U.S. 43, 56 (1994). Among other reasons, internet distribution is essential because it
 enables the collaborative development of digital firearms information in the public forum now
 known as the “Open Source Community.” See PI Motion at 8 & n.5.


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 information occurs. It is enough to offer, or even advertise, the sharing of such information. And

 as the complaint pleads—and evidence proves—the distribution of digital firearms information is,

 indeed, the Plaintiffs’ true mission. See FAC ¶¶ 10, 12-13; PI Motion at 5.

 III.    Abstention is unwarranted.

         A.      The first order’s keystone conclusion should be reconsidered.

         The pleadings and evidence now on file support a simple conclusion: the Plaintiffs are

 engaged in speech that Section 3(l)(2) criminalizes. The test set forth in the Court’s prior order

 has been satisfied multiple times over. With respect to all three categories of conduct—the

 distribution of digital firearms information via the internet, the distribution of digital firearms

 information via the mail, and offers and advertisements of those distributions—the Plaintiffs have

 been in the past and will in the future be “distributing, in the course of the[ir] activities, (1) digital

 instructions, (2) in the form of computer-aided design files or other code or instructions stored and

 displayed in electronic format as a digital model, (3) that may be used to program a three-

 dimensional printer to manufacture of produce a firearm, firearm receiver, magazine, or firearm

 component.” Dkt. 53 at 5-6.

         The Court found that Pullman abstention was warranted because “a fair reading of Section

 3(l)(2) suggests that the section would not reach any of the activities Plaintiffs claim the section

 would halt.” Dkt. 53 at 6. But as the record now shows quite clearly, Section 3(l)(2) by its plain

 terms does reach Plaintiffs’ past and future-planned activities. Now that the Plaintiffs’ activities

 have been correctly defined, the first order’s logic must be reconsidered. Under any fair reading

 of the statute, Section 3(l)(2) does reach the constitutionally protected current and ongoing

 activities Plaintiffs identify. The law therefore does force Plaintiffs to cease those activities, and

 therefore does cause Plaintiffs to suffer the irreparable injury of which they complain.




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         B.      Chilling effects militate strongly against abstention.

         “‘[A]bstention . . . is inappropriate for cases [where] . . . statutes are justifiably attacked

 on their face as abridging free expression.’” Houston v. Hill, 482 U.S. 451, 467 (1987) (quoting

 Dombrowski v. Pfister, 380 U.S. 479, 489-490 (1965)). Hence, abstention is not appropriate for

 this case because the Plaintiffs mount serious facial challenges to New Jersey’s new speech crime.

         The Court’s prior order was “mindful” of this rule. Dkt. 53 at 7. Indeed, it acknowledged

 that abstention was not warranted “in cases involving facial challenges to the First Amendment.”

 Dkt. 53 at 7 (quoting Houston, 482 U.S. at 467-68). But the Court, unable to discern what “speech

 content, if any, of the activities they claim the statute will force them to cease,” declined to follow

 that rule. Dkt. 53 at 7. The current record no longer supports such a conclusion.

         The “speech content” involved in facial First Amendment challenges to New Jersey’s law

 is now identified with particularity: the digital firearms information that the Plaintiffs are being

 prohibited from expressing freely, as well as the offers and advertisements about that speech that

 are also criminalized. Both the complaint and the motion for a preliminary injunction establish

 that this speech content qualifies as First Amendment speech of the highest order. See FAC ¶ 3;

 PI Motion at 14 & n.8.

         Accordingly, abstention is not warranted here because the Plaintiffs have alleged very

 justifiable First Amendment claims. The Court should exercise jurisdiction, for to abstain “might

 itself effect the impermissible chilling of the very constitutional right [Plaintiffs] seek[] to protect.”

 Houston l, 482 U.S. at 467-68 (quoting Zwickler v. Koota, 389 U.S. 241, 252 (1967)).




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        C.      Modern abstention precedent supports the exercise of jurisdiction.

        The Court justified abstention based on the Fifth Circuit’s ruling in United Home Rentals,

 Inc. v. Texas Real Estate Commission. 716 F.2d 324 (5th Cir. 1983) (cited by the original TRO

 decision). That three-decade-old opinion, decided prior to Hill, has never been cited by the Fifth

 Circuit. This outlier decision is not controlling for three reasons.

        First and foremost, United Home Rentals involved a real “ambiguity of state law.” Id. at

 333. Not so here. Section 3(l)(2) clearly criminalizes all three kinds of activity outlined above,

 without any ambiguity.2 The United Home Rentals keystone is missing.

        Second, United Home Rentals relied upon a key dynamic that is missing from this case:

 “The [United Home Rentals] record reveal[ed] that before bringing this quarrel to federal court as

 a constitutional matter, the parties were engaged in a process of negotiation and compromise as to

 the scope of the [disputed state law].” Id. at 334 (emphasis added). The opposite is true here.

        New Jersey’s Attorney General is not willing to engage in a “process of negotiation and

 compromise” with the Plaintiffs. His goal is to prosecute them, which he threatened to do in a

 broadcast declaring how “proud” he was to “stop the next Cody Wilson” and use Section 3(l)(2)

 to “come after” “anyone who is contemplating making a printable gun.” PI Motion at 11-12

 (quoting PI Motion Ex. 2). The “mutually satisfactory” ending that Judge Gee saw on the United

 Home Rentals horizon is nowhere in sight here.




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   Similarly, Section 3(l)(2)’s lack of ambiguity makes Word of Faith World Outreach Ctr. Church,
 Inc. v. Morales, 986 F.2d 962 (5th Cir. 1993) (also cited by the initial TRO decision) inapplicable.
 It was “highly likely” that the Word of Faith statute did not apply to the Plaintiffs challenging it
 because of not just one but multiple possible mooting interpretations. Id. at 968. No such outs
 exist here.


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        Finally, United Home Rentals involved intertwined administrative proceedings: “[I]t

 appears from the court’s discussion of ongoing state administrative proceedings that [United Home

 Rentals] intermingled Younger principles with the principles underlying Pullman abstention.”

 Porter v. Jones, 319 F.3d 483, 493 n.10 (9th Cir. 2003). No such administrative proceedings exist

 here. “United Home Rentals is therefore inapplicable to the case before us.” Id.

        “Abstention from the exercise of federal jurisdiction is the exception, not the rule.”

 Colorado River Water Conservation Dist. v. United States, 424 U.S. 800, 813 (1976). In light of

 this tradition, the Supreme Court’s current abstention precedent now recognizes that federal courts

 have “no more right to decline the exercise of jurisdiction which is given, than to usurp that which

 is not given.” Sprint Commc’ns, Inc. v. Jacobs, 134 S. Ct. 584, 588 (2013) (quoting Cohens v.

 Virginia, 19 U.S. (6 Wheat.) 264, 404 (1821). Hence, under modern Supreme Court precedent,

 the obligation to exercise existing jurisdiction is “virtually unflagging.” Id. The Court should

 exercise jurisdiction here and temporarily enjoin the enforcement of Section 3(l)(2).

                                            Conclusion

        The motion should be granted. The Court should issue a TRO against the New Jersey

 Attorney General’s enforcement of the unconstitutional Section 3(l)(2) speech crime against

 Plaintiffs. To the extent necessary, Plaintiffs request that the Court reconsider the November 13,

 2018 order denying Plaintiffs’ first TRO request, Dkt. 53.




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 Date: December 4, 2018                   Respectfully submitted,

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                               CERTIFICATE OF SERVICE

 On December 4, 2018, I served this filing on the following persons via CM/ECF:

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